       Case 3:20-cv-00374 Document 41 Filed on 05/16/22 in TXSD Page 1 of 2
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                           May 16, 2022
                      IN THE UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

STEPHEN PATRICK BRYANT III,      )( Civil Action No.: 3:20-cv-374
                                 )( (Jury Trial)
       Plaintiff,                )(
                                 )(
V.                               )(
                                 )(
GALVESTON COUNTY, TEXAS, et al., )(
                                 )(
       Defendants.               )(

                            AMENDED DOCKET-CONTROL
                             DOCKET-CONTROL ORDER ORDER

 This case will be controlled by the following schedule:


                                       DEADLINES

1.   PASSED DEADLINE TO AMEND THE PLEADINGS. Parties may amend pleadings
     by this date without leave of court, but only in compliance with Rule 6 in Judge
     Brown’s procedures. If the plaintiff(s) file(s) an amended complaint by this date, the
     defendant(s) may file a responsive pleading in accordance with Fed. R. Civ. P. 15(a)(3).
     After expiration of this deadline, a party seeking to amend a pleading must file a
     motion for leave demonstrating both good cause and excusable neglect in accordance
     with Fed. R. Civ. P. 6(b)(1)(B).

2.   PASSED DEADLINE TO ADD NEW PARTIES. Unless a case has been removed
     from state court, new parties may be added by this date without leave of court. After
     the expiration of this deadline, a party seeking to add a new party must file a motion
     for leave demonstrating both good cause and excusable neglect in accordance with Fed.
     R. Civ. P. 6(b)(1)(B). The attorney causing the addition of new parties will provide
     copies of this order and all orders previously entered in the case to new parties. Note:
     If a case has been removed from state court, a motion for leave must be filed seeking
     permission to add new parties.

3.   PASSED Identification of plaintiffs’ experts and production of experts’ reports in
     the form required by Fed. R. Civ. P. 26(a)(2)(B).




                                                  1
       Case 3:20-cv-00374 Document 41 Filed on 05/16/22 in TXSD Page 2 of 2




4.   PASSED Identification of defendants’ experts and production of experts’ reports in
     the form required by Fed. R. Civ. P. 26(a)(2)(B).

5.   06/29/2022 COMPLETION OF DISCOVERY. Written discovery requests are not
     timely if they are filed so close to this deadline that the recipient would not be required
     under the Federal Rules of Civil Procedure to respond until after the deadline.

6.   07/08/2022 DISPOSITIVE MOTIONS

7. 07/15/2022 ALL OTHER PRETRIAL MOTIONS.

8. 07/29/2022
   09/05/2022 EXCHANGE PRETRIAL MATERIALS. Parties should exchange and
   begin to confer on motions in limine, exhibit lists, and depo sition designations.

9.   08/26/2022
     _________________________               DOCKET CALL is set at 9:30 a.m. All Pretrial
     Filings (exhibit list, witness list, etc.) required under Rule 11 of the Galveston District
     Court Rules of Practice must be filed at least one day before this date. At docket call,
     the court may announce rulings on any pending matters, the case will be set for trial on
     a date certain within the next 60 days, and further pretrial orders may be issued.


     DATE:




                 May 16 2022
     __________________,                  ______________________________________
                                          HONORABLE JEFFREY V. BROWN
                                          UNITED STATES DISTRICT COURT JUDGE
                                          U.S. Southern District of Texas, Galveston




                                                    2
